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                                 SWORN TITLE SEARCH


   CLIENTE         : FORTUÑO & FORTUÑO FAS, CSP                                                  747,445

   RE              : CARLOS A GONZALEZ RIVERA/ 1521.152/
                     IRMA ORTIZ/ MORTGAGE/

   FINCA           : Number 11,027, recorded at page 123 of volume 274 of Utuado.
                     Registry of the Property of Puerto Rico, Section of Utuado.


DESCRIPTION: (AS IT IS RECORDED IN THE SPANISH LANGUAGE)

RÚSTICA: En el Barrio Roncador del término municipal de Utuado, Puerto Rico, compuesta de
treinta y dos cuerdas, equivalentes a doce hectáreas, cincuenta y siete áreas, setenta y dos centiáreas y
ochenta miliáreas, en lindes: por el NORTE, con Vicente Beauchamp y Ángel Pérez; por el SUR,
con Vicente Beauchamp, Santiago Maldonado y Domingo Rosado; por el ESTE, Vicente
Beauchamp, Domingo Rosado y Santiago Maldonado; y por el OESTE, con Epifanio López.

Contiene una casa de vivienda y dos casillas.

ORIGIN:

Formed by the grouping of properties number 5,784; 7,026 and 5,790, recorded at pages 58; 27 and
65 of volumes 145; 252 and 128, respectively, of Utuado.

TITLE:

Recorded at the overleaf of page 280 of volume 368 of Utuado, in favor of Carlos Alberto González
Rivera (privative), married to Vanessa Bermúdez Cordero, who acquired it by donation from Luis
A. González and Albertina Rivera, with a value of $50,000.00, pursuant to deed number 4, issued in
Utuado, Puerto Rico, on January 7, 1997, before notary Pedro T. Anca, property number 11,027, 9th
inscription.

This property is designated as a protected homestead by virtue of the Puerto Rico Homestead
Protection Act number 195 of September 13, 2011, as per deed number 14, issued in Coamo, Puerto
Rico, on March 30, 2015, before notary Jorge Rafael González Rivera and recorded at page 104 of
volume 599 of Utuado, property number 11,027, 13th inscription.

LIENS AND ENCUMBRANCES:

i. By reason of its origin this property is:

        FREE OF LIENS.

ii. By reason of itself this property is encumbered by the following:

        a. Mortgage securing a note in favor of the United States of America, acting through
           Farmer's Home Administration, or its order, in the original principal amount of
           $45,000.00, plus 5% annual interest, due in 40 years, pursuant to deed number 7, issued
           in Utuado, Puerto Rico, on February 26,1977, before notary Luis Pérez Matos, and
           recorded at the overleaf of page 126 of volume 274 of Utuado, property number 11,027,
           6th inscription.


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       b. Mortgage securing a note in favor of the United States of America, or its order, in the
          original principal amount of $97,000.00, plus 3.75% annual interest, due in 20 years,
          pursuant to deed number 136, issued in Utuado, Puerto Rico, on May 30, 1992, before
          notary Pedro T. Anca, and recorded at page 281 of volume 274 of Utuado, property
          number 11,027, 10th inscription.

       c. Modified the mortgage note of the 10th inscription as to its principal amount, which will
          be $107,322.32, plus 3.75% annual interest, due in 16 years, pursuant to deed number 70,
          issued in Utuado, Puerto Rico, on May 21, 2001, before notary Pedro T. Anca, and
          recorded at page 210 of volume 512 of Utuado, property number 11,027, 11th inscription.

       d. Mortgage securing a note in favor of United States of America, or its order, in the original
          principal amount of $3,924.00, plus 5% annual interest, due in 15 years, pursuant to deed
          number 71, issued in Utuado, Puerto Rico, on May 21, 2001, before notary Pedro T.
          Anca, and recorded at page 210 of volume 512 of Utuado, property number 11,027, 12th
          inscription.

       e. Notice of Lis Pendens dated April 7, 2021, issued by the First Instance Court of Puerto
          Rico, Section of Utuado, in the civil case number UT2021CV00003, by Omar Albarrán
          González, versus A. González Rivera, Vanessa Bermúdez and the conjugal partnership
          composed by both, for monies owed and foreclosure of mortgage, in the amount of
          $50,000.00, plus interest and other amounts, or the sale of the property at public auction,
          annotated on May 4, 2023, at the Karibe volume of Utuado, property number 11,027,
          Annotation A.

       f. Attachment, as per Writ issued by the First Instance Court of Puerto Rico, Section of
          Utuado, in the civil case number UT2021-CV00003, by Carlos A. González, versus Omar
          Albarrán González, for monies owed, damages and losses, in the amount of $10,000.00,
          plus interest and other amounts, or the sale of the property at public auction, annotated on
          December 6, 2023, at the Karibe volume of Utuado, property number 11,027, Annotation
          B.

OBSERVATION:

Judgment dated September 14, 2011, issued by the First Instance Court of Puerto Rico, Section of
Utuado, in the civil case number LICI2011-00078, by Cooperativa de Ahorro y Crédito de Lares y
Región Central, versus Carlos A. González Rivera and Vanessa Bermúdez Cordero, and the Conjugal
Partnership composed by both, for monies owed, in the amount of $8,115.88, plus interest and other
amounts, annotated on April 30, 2015, at page 5 of Judgment Liens Book number 5.

NOTE: We cannot guarantee that the defendant is the same person as the owner of the
property.

REVIEWED:

Federal Attachments, Commonwealth of Puerto Rico Tax Liens (including those arising from Law
number 12 of January 20, 2010), Judgments, Karibe System and Electronic Daily Log provided by
the Registry Clerk. (11:38 a.m.)

NOTE: This Section has established an Electronic Log. We are not responsible for any errors
or omissions on the part of the Registry clerk.




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Capital Title Services, LLC.

BY: Ramón F. Gómez Marcos
March 3, 2025
MRF/anr/f




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